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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Seeking Appointment as Attorney for Defendant
     SALVADOR BARAJAS ANDRADE
6
7
8                          IN THE UNITED STATES DISTRICT COURT
9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )         No. Cr. F 02-5094 AWI
                                     )
12                  Plaintiff,       )         REQUEST FOR APPOINTMENT OF
                                     )         COUNSEL; ORDER
13        v.                         )
                                     )         RETROACTIVE CRACK COCAINE
14   SALVADOR BARAJAS ANDRADE,       )         REDUCTION CASE
                                     )         Date: March 24, 2008
15                  Defendant.       )         Time: 9:00 a.m.
                                     )         Judge: Hon. ANTHONY W. ISHII
16   _______________________________ )
17        Pursuant to 18 U.S.C. §§ 3006A(c) and 3852(c)(2), Defendant,
18   SALVADOR BARAJAS ANDRADE, hereby requests the court appoint the Office
19   of the Federal Defender and Assistant Federal Defender David M. Porter
20   as counsel to represent him with respect to his motion to reduce
21   sentence pursuant to 18 U.S.C. § 3582(c)(2), filed March 10, 2008.        Mr.
22   Porter is familiar with the case and is willing to accept the
23   appointment.*
24        Appointment of counsel would serve the interests of justice in
25   this case because it might facilitate a negotiated disposition of the
26   motion and because the motion might raise novel legal issues
27
          *
            Mr. Andrade has authorized the undersigned to file this
28   application on his behalf.
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1    surrounding application of the United States Sentencing Commission’s
2    recent retroactive reduction of sentences under the crack cocaine
3    guidelines.      Because Mr. Andrade’s substantial rights may be affected
4    by these criminal proceedings, he is constitutionally entitled to
5    appointment of counsel.        Mempa v. Rhay, 389 U.S. 128, 134 (1967).
6         Mr. Andrade’s completed financial affidavit is attached hereto.
7         Accordingly, Mr. Andrade requests the Court issue the order lodged
8    herewith.
9    Dated:     March 10, 2008
10                                  Respectfully submitted,
11                                  DANIEL J. BRODERICK
                                    Federal Defender
12
13                                    /s/ David M. Porter
                                    DAVID M. PORTER
14                                  Assistant Federal Defender
15                                  Seeking Appointment as Attorney for Movant
                                    SALVADOR BARAJAS ANDRADE
16
17
                                           O R D E R
18
          Pursuant to defendant’s request, and good cause appearing
19
     therefor, the Office of the Federal Defender and Assistant Federal
20
     David M. Porter is hereby appointed to represent defendant with respect
21
     to his motion to reduce sentence.
22
23
     IT IS SO ORDERED.
24
     Dated:    March 10, 2008                  /s/ Anthony W. Ishii
25   0m8i78                              UNITED STATES DISTRICT JUDGE
26
27
28

     REQUEST FOR APPOINTMENT OF COUNSEL
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